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                                         DEFAULT DECISION

                                                                      Summons No:        200002CS

                          BENJAMIN,S,LAMB
                                                                            DEPARTMENT OF CONSUMER AFFAIRS,
                        1833 AMSTERDAM AVE
                         NEW YORK,NY 10031

                                                                                           -against-

                                                                                      BENJAMIN,S,LAMB



                                                                      Hearing Date:      08/06/2020


                                                                      Hearing Location:      Manhattan


                                                                      Type of Hearing:       DEFAULT



 Total Penalty Amount: $500.00                               Restitution:$0.00

 Suspension/Revocation/Sealing:


  SUMMONS #           SUMMARY DISPOSITION           DATE OF OCCURRENCE                PLACE OF OCCURRENCE

 200002CS          Default                         02/04/2020                     1833 AMSTERDAM AVE Manhattan




 LINE   OATH             CODE         OCCUR-        NO. OF      RESULT           PENALTY          SUSPENSION/
 ITEM   CODE          SECTION/RULE    RENCE        COUNTS                                      REVOCATION/SEALING


  1         NA     6 RCNY § 1-13             1         1          Default          $500.00



Respondent failed to appear on the scheduled hearing date. All facts alleged in the summons are deemed
admitted. Accordingly, the Respondent is found in violation and subject to the penalties imposed herein.
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      September 17, 2020                                                       09/17/2020


 Andrea Pfeiffer, Hearing Officer                                                 Date




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